        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 1 of 14


                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N. W.
                                                      Washington. D.C. 20530




                                                      June 30, 2021


Charles Peterson
Executive Director
Federal Defender Services of Idaho
702 W. Idaho, Suite 1000
Boise, Idaho 83702
Transmitted via email: Chuck_Peterson@fd.org

                      Re:     United States v. Josiah Colt
                              Criminal Case No. 21-cr-74

Dear Mr. Peterson:

        This letter sets forth the full and complete plea offer to your client, Josiah Colt
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on July 9, 2021. If your client accepts the terms and conditions
of this offer, please have your client execute this document in the space provided below. Upon
receipt of the executed document, this letter will become the Plea Agreement (“this
Agreement”). The terms of the offer are as follows:

       1.      Charges and Statutory Penalties

       Your client agrees to plead guilty to Count one in the Indictment, charging your client
with Obstruction, in violation of 18 U.S.C. § 15 12(c).

        Your client understands that a violation of 18 U.S.C. § 1512(c)(2), carries a maximum
sentence of 20 years of imprisonment; a fine of $250,000, pursuant to 18 U.S.C. § 357 1(b)(3);
and a term of supervised release of not more than three years, pursuant to 18 U.S.C. §
3583(b)(2).

        In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing

                                           Page 1 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 2 of 14




Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation.

       2.      Factual Stipulations

        Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

       3.      Additional Charges

        In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government will request that the Court dismiss the remaining counts of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the
charges to be dismissed at the time of sentencing were based in fact.

        After the entry of your client’s plea of guilty to the offense identified in paragraph one
above, your client will not be charged with any non-violent criminal offense in violation of Federal
or District of Columbia law that was committed within the District of Columbia by your client
prior to the execution of this Agreement and about which this Office was made aware by your
client prior to the execution of this Agreement. However, the United States expressly reserves its
right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16 and/or 22
D.C. Code § 4501, if in fact your client committed or commits such a crime of violence prior to or
after the execution of this Agreement.

       4.      Sentencing Guidelines Analysis

       Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
applicable guidelines and policies promulgated by the Sentencing Guidelines. Pursuant to
Federal Rule of Criminal Procedure ll(c)(l)(B), and to assist the Court in determining the
appropriate sentence, the parties agree to the following:

               A.      Estimated Offense Level Under the Guidelines

       The parties agree that the following Sentencing Guidelines sections apply:

               U.S.S.G.   § 2J1 .2               Base Offense Level                          14
               U.S.S.G.   § 2J1 .2(b)(l)(B)      Cause/Threat Injury or Damage                8
               U.S.S.G.   § 2J1 .2(b)(2)         Substantial Interference With Justice        3
               U.S.S.G.   § 2J1 .2(b)(3)(C))     Extensive in scope, planning or preparation 2


                                                                              Total         27

                                               Page 2 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 3 of 14




       Acceptance of Responsibility:

         The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1  .1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S. S.G.
§ 3E1. 1(b), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

        Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction ofjustice, pursuant to U.S. S.G. § 3C 1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

       In accordance with the above, the Estimated Offense Level will be at least 24.

               B.      Estimated Criminal History Category

       Based upon the information now available to this Office, your client has no criminal
convictions.

        Accordingly, your client is estimated to have 0 criminal history points and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase.

               C.      Estimated Guidelines Range

         Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 51 months to 63 months
(the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to U.S.S.G. §
5E1 .2, should the Court impose a fine, at Guidelines level 24, the estimated applicable fine range
is $20,000 to $200,000. Your client reserves the right to ask the Court not to impose any
applicable fine.

       The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated


                                           Page 3 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 4 of 14




Guidelines Range set forth above is warranted. Except as provided for in the “Reservation of
Allocution” section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that
estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction ofjustice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

        5.     A2reement as to Sentencin2 Allocution

        The parties agree that a sentence within the Estimated Guidelines Range would constitute
a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a). However, the
parties agree that either party may seek a variance and suggest that the Court consider a
sentencing outside of the applicable Guidelines Range, based upon factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3 553(a).

        6.     Reservation of Allocution

         The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.


                                           Page 4 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 5 of 14




        In addition, if in this Agreement the Government has agreed to recommend or refrain
from recommending to the Court a particular resolution of any sentencing issue, the Government
and your client reserve the right to full allocution in any post-sentence litigation. The parties
retain the full right of allocution in connection with any post-sentence motion which may be filed
in this matter and/or any proceeding(s) before the Bureau of Prisons. In addition, your client
acknowledges that the Government is not obligated and does not intend to file any post-sentence
downward departure motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal
Procedure.

       7.      Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing or to grant a downward departure based on your client’s
substantial assistance to the Government, even if the Government files a motion pursuant to §
5K1.l of the Sentencing Guidelines. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

        Your client acknowledges that your client’s entry of a guilty plea to the charged
offense(s) authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence your
client will receive. Moreover, it is understood that your client will have no right to withdraw
your client’s plea of guilty should the Court impose a sentence that is outside the Guidelines
range or if the Court does not follow the Government’s sentencing recommendation. The
Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.

       8.      Conditions of Release

        Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct
prior to sentencing or if the Government obtains information that it did not possess at the time of
your client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client’s release conditions, any misconduct by your client, or any inability or failure on the part
of your client to continue your client’s cooperation with the Government, may result in the
Government filing an ç parte motion with the Court requesting that a bench warrant be issued



                                           Page 5 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 6 of 14




for your client’s arrest and that your client be detained without bond while pending sentencing in
your client’s case.

       9.      Cooperation

        Your client agrees to cooperate with the Office of the United States Attorney for the
District of Columbia on the following terms and conditions:

        (a)     Your client shall cooperate fully, truthfully, completely and forthrightly with this
Office and other Federal, state and local law enforcement authorities identified by this Office in
any and all matters as to which the Government deems the cooperation relevant. Your client
acknowledges that your client’s cooperation may include, but will not necessarily be limited to:
answering questions; providing sworn written statements; taking government-administered
polygraph examination(s); and participating in covert law enforcement activities. Any refusal by
your client to cooperate fully, truthfully, completely and forthrightly as directed by this Office
and other Federal, state and local law enforcement authorities identified by this Office in any and
all matters in which the Government deems your client’s assistance relevant will constitute a
breach of this Agreement by your client, and will relieve the Government of its obligations under
this Agreement, including, but not limited to, its obligation to inform this Court and the
Departure Guidelines Committee of the United States Attorney’s Office for the District of
Columbia of any assistance your client has provided. Your client agrees, however, that such
breach by your client will not constitute a basis for withdrawal of your client’s plea of guilty or
otherwise relieve your client of your client’s obligations under this Agreement.

        (b)     Your client shall promptly turn over to the Government, or other law enforcement
authorities, or direct such law enforcement authorities to, any and all evidence of crimes about
which your client is aware; all contraband and proceeds of such crimes; and all assets traceable
to the proceeds of such crimes. Your client agrees to the forfeiture of all assets which are
proceeds of crimes or traceable to such proceeds of crimes.

        (c)     Your client shall submit a full and complete accounting of all your client’s
financial assets, whether such assets are in your client’s name or in the name of a third party.

        (d)     Your client acknowledges and understands that, during the course of the
cooperation outlined in this Agreement, your client will be interviewed by law enforcement
agents and/or Government attorneys. Your client waives any right to have counsel present
during these interviews and agrees to meet with law enforcement agents and Government
attorneys outside of the presence of counsel. If, at some future point, you or your client desire to
have counsel present during interviews by law enforcement agents and/or Government attorneys,
and you communicate this decision in writing to this Office, the Government will honor this
request, and this change will have no effect on any other terms and conditions of this Agreement.

        (e)     Your client shall testify fully, completely and truthfully before any and all Grand
Juries in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client’s testimony may be
deemed relevant by the Government.


                                           Page 6 of 13
         Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 7 of 14




         (f)    Your client understands and acknowledges that nothing in this Agreement allows
your client to commit any criminal violation of local, state or federal law during the period of
your client’s cooperation with law enforcement authorities or at any time prior to the sentencing
in this case. The commission of a criminal offense during the period of your client’s cooperation
or at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court and the Departure Guidelines Committee of the United States
Attorney’s Office for the District of Columbia of any assistance your client has provided.
However, your client acknowledges and agrees that such a breach of this Agreement will not
entitle your client to withdraw your client’s plea of guilty or relieve your client of the obligations
under this Agreement.

         (g)   Your client agrees to abide by any and all release conditions imposed by the
Court.

         10.   Waivers

               a.      Statute of Limitations

        Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.

               b.      Trial Rights

         Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client’s behalf, and to choose whether to testify. If there were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury
instructed that your client’s failure to testify could not be held against your client. Your client
would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client’s guilt


                                            Page 7 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 8 of 14




beyond a reasonable doubt. If your client were found guilty after a trial, your client would have
the right to appeal your client’s conviction. Your client understands that the Fifth Amendment to
the Constitution of the United States protects your client from the use of self-incriminating
statements in a criminal prosecution. By entering a plea of guilty, your client knowingly and
voluntarily waives or gives up your client’s right against self-incrimination.

        Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the Government with the concurrence of the Court. Your client also agrees that
the sentencing in this case may be delayed until your client’s cooperation has been completed, as
determined by the Government, so that the Court will have the benefit of all relevant information
before a sentence is imposed. Your client understands that the date for sentencing will be set by
the Court.

               c.      Appeal Rights

         Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
maimer in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               d.      Collateral Attack

       Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought


                                            Page 8 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 9 of 14




under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.
               e.      Witness Fees

        Your client further agrees to waive all rights, claims, or interest in any witness fee that
your client may be eligible to receive pursuant to 28 U.S.C. § 1821 for your client’s appearance
at any grand jury, witness conference, or court proceeding, during the course of your client’s
cooperation pursuant to this Agreement or any term of your client’s incarceration.

        11.    Use of Se1f-Incriminatin Information

        The Government agrees pursuant to U.S.S.G. § lB 1.8(a), that self-incriminating
information provided by your client pursuant to this Agreement or during the course of
debriefings conducted in anticipation of this Agreement, and about which the Government had
no prior knowledge or insufficient proof in the absence of your client’s admissions, will not be
used by the Government at the time of sentencing for the purpose of determining the applicable
guideline range. However, all self-incriminating information provided by your client may be
used for the purposes and in accordance with the terms identified in U.S.S.G. § lB 1.8(b).

        12.    Restitution

       Your client acknowledges that the riot that occurred on January 6, 2021, caused as of
May 17, 2021, approximately $1,495,326.55 damage to the United States Capitol. Your client
agrees as part of the plea in this matter to pay restitution to the Department of Treasury in the
amount of $1,000.

        Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecffluusa.doj.gov. Your client will
complete and electronically provide the standard financial disclosure form to
usadc.ecffluusa.doj.gov 30 days prior to your client’s sentencing. Your client agrees to be
contacted by the Financial Litigation Unit of the United States Attorney’s Office, through
defense counsel, to complete a financial statement. Upon review, if there are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years’
incarceration and a fine.


                                           Page 9 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 10 of 14




        Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

        Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment. If your client is
sentenced to a term of imprisonment by the Court, your client agrees to participate in the Bureau
of Prisons’ Inmate Financial Responsibility Program, regardless of whether the Court
specifically imposes a schedule of payments.

        Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

        13.    Breach of Agreement

         Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction ofjustice; (d) no motion pursuant to Section 5K1.l of the
Sentencing Guidelines or 18 U.S.C. § 3553(c) will be filed or sought; and (e) the Government
will be free to use against your client, directly and indirectly, in any criminal or civil proceeding,
all statements made by your client and any of the information or materials provided by your
client, including such statements, information and materials provided pursuant to this Agreement
or during the course of any debriefings conducted in anticipation of, or after entry of, this
Agreement, whether or not the debriefings were previously characterized as “off-the-record”
debriefings, and including your client’s statements made during proceedings before the Court
pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

       Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after


                                            Page 10 of 13
       Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 11 of 14




the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client's
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client's guilty plea.

       14.     Government's Obligations

       The Government will bring to the Court's attention at the time of sentencing the nature
and extent of your client's cooperation or lack of cooperation.

         The Departure Guideline Committee of the United States Attorney's Office for the
District of Columbia will evaluate the full nature and extent of your client's cooperation to
determine whether your client has provided substantial assistance in the investigation or
prosecution of another person who has committed an offense. If the Departure Guideline
Committee determines that your client has provided such substantial assistance, this Office shall
file a departure motion pursuant to Section 5Kl .1 of the Sentencing Guidelines, which would
afford your client an opportunity to persuade the Court that your client should be sentenced to a
lesser period of incarceration and/or fine than indicated by the Sentencing Guidelines. The
determination of whether your client has provided substantial assistance warranting the filing of
a motion pursuant to Section 5Kl .1 of the Sentencing Guidelines is within the sole discretion of
the United States Attorney's Office for the District of Columbia and is not reviewable by the
Court. In the event your client should fail to perform specifically and fulfill completely each and
every one of your client's obligations under this Agreement, the Government will be free from
its obligations under this Agreement, and will have no obligation to present your client's case to
the Departure Guideline Committee or file a departure motion pursuant to Section 5Kl .1 of the
Sentencing Guidelines.


       15.     Complete Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

        Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney's Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney's Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.




                                           Page 11 of13
       Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 12 of 14




       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than July
9,2021.

                                                   Sincerely yours,




                                                   Channing D. Phillips
                                                   Acting United States Attorney



                                            By:    /s/Elizabeth Aloi
                                                   Elizabeth Aloi
                                                   Assistant United States Attorney




                                         Page 12 of 13
        Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 13 of 14




                                DEFENDANT’ S ACCEPTANCE

       I have read every page of this Agreement and have discussed it with my attorney, Charles
Peterson. I frilly understand this Agreement and agree to it without reservation. I do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made
to me nor am I under the influence of anything that could impede my ability to understand this
Agreement fully. I am pleading guilty because I am in fact guilty of the offense(s) identified in
this Agreement.

        I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.




Date:_______
                                     Josiah Colt
                                     Defendant


                            ATTORNEY’ S ACKNOWLEDGMENT

        I have read every page of this Agreement, reviewed this Agreement with my client,
Josiah Colt, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.




Date:   7--2o2(
                                     Charles Pet
                                     Attorney for Defendan




                                         Page 13 of 13
Case 1:21-cr-00074-TFH Document 21 Filed 07/26/21 Page 14 of 14
